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                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF FLORIDA

                        CASE NO. 11-62311-CIV-ZLOCH

  JOSE ROQUE,

             Plaintiff,

  vs.                                                   O R D E R

  LEADING EDGE RECOVERY
  SOLUTIONS, LLC,

             Defendant.
                                 /

        THIS MATTER is before the Court sua sponte.           The Court has

  carefully reviewed the entire court file herein and is otherwise

  fully advised in the premises.

        By a Notice Of Settlement (DE 27) filed April 8, 2012, the

  Court was advised that the Parties reached a settlement in this

  matter.    By prior Order (DE 16, ¶ 17), the Court notified the

  Parties that, upon settlement, a Stipulation Of Dismissal must be

  filed in accord with Federal Rule of Civil Procedure 41(a) within

  ten (10) days of so notifying the Court.         This deadline has long

  since passed.

        Accordingly, after due consideration, it is

        ORDERED AND ADJUDGED that by noon on Monday, April 30, 2012,

  the Parties shall either file a Joint Stipulation Of Dismissal in

  accord with Federal Rule of Civil Procedure 41(a) or show good

  cause for why the Court should not dismiss the above-styled cause

  for failure to comply with the Court’s prior Order (DE 16).

  Failure of the Parties to timely abide by the terms and conditions
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  of this Order will result in dismissal of the above-styled cause

  without prejudice and without further notice or hearing.

        DONE AND ORDERED in Chambers at Fort Lauderdale, Broward

  County, Florida, this       26th     day of April, 2012.




                                     WILLIAM J. ZLOCH
                                     United States District Judge

  Copies furnished:

  All Counsel of Record




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